Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 1 of 16 PageID: 147




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Class

[Additional Counsel on signature page]

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 TREY GREENE, individually and on           Case No. 2:23-cv-01165-KM-LDW
 behalf of all others similarly situated,
                                            MEMORANDUM OF LAW IN
                            Plaintiff,      SUPPORT OF MOTION OF
                                            CAMERON WYATT FOR
      v.                                    APPOINTMENT AS LEAD
                                            PLAINTIFF AND APPROVAL OF
 ZAC PRINCE, FLORI MARQUEZ,                 LEAD PLAINTIFF’S SELECTION
 TONY LAURA, JENNIFER HILL                  OF LEAD COUNSEL
 and GEMINI TRADING, LLC,
                                            Motion Date: June 5, 2023
                            Defendants.
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 2 of 16 PageID: 148




                                        TABLE OF CONTENTS



PRELIMINARY STATEMENT ............................................................................... 1

STATEMENT OF FACTS ........................................................................................ 3

ARGUMENT ............................................................................................................. 5

         A.       WYATT SHOULD BE APPOINTED LEAD PLAINTIFF ................. 5

                  1.       Wyatt Are Willing to Serve as Class Representatives ................ 6

                  2.       Wyatt Has the “Largest Financial Interest” ................................ 6

                  3.       Wyatt Otherwise Satisfies the Requirements of Rule 23
                           of the Federal Rules of Civil Procedure...................................... 7

                  4.       Wyatt Will Fairly and Adequately Represent the Interests
                           of the Class and Is Not Subject to Unique Defenses ................ 10

         B.       LEAD PLAINTIFF’S SELECTION OF COUNSEL SHOULD
                  BE APPROVED .................................................................................. 11

CONCLUSION ........................................................................................................ 12




                                                           i
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 3 of 16 PageID: 149




                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)

Cases

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) .............................................................................................. 9

Baby Neal v. Casey,
  43 F.3d 48 (3d Cir. 1994) ..................................................................................... 8

Beck v. Maximus, Inc.,
   457 F.3d 291 (3d Cir. 2006) ............................................................................. 8, 9

Fischler v. Amsouth Bancorp., No. 96-1567-CIV-T-17A,
   1997 U.S. Dist. LEXIS 2875 (M.D. Fla. Feb. 6, 1997) ........................................ 7

In re Lucent Techs. Sec. Litig.,
    194 F.R.D. 137 (D.N.J. 2000)............................................................................... 7

In re Molson Coors Brewing Co. Sec. Litig.,
    233 F.R.D. 147 (D. Del. 2005) ........................................................................... 11

In re Vonage Initial Pub. Offering Secs. Litig., No. 07-177 (FLW),
    2007 U.S. Dist. LEXIS 66258 (D.N.J. Sept. 6, 2007) .......................................... 9

Sklar v. Amarin Corp. PLC, Nos. 13-cv-06663 (FLW) (TJB),
   2014 U.S. Dist. LEXIS 103051 (D.N.J. July 29, 2014) ....................................... 7

                                                      Statutes

15 U.S.C. § 77z-1 ..............................................................................................passim

15 U.S.C. § 78u-4..............................................................................................passim

Private Securities Litigation Reform Act of 1995 ............................................passim

Securities Act of 1933 ................................................................................................ 1

                                                        Rules

Fed. R. Civ. P. 23 ..............................................................................................passim

                                                      ii
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 4 of 16 PageID: 150




      Movant Cameron Wyatt (“Wyatt”) respectfully submits this Memorandum of

Law in support of his motion, pursuant to Section 27(a)(3) of the Securities Act of

1933 (the “Securities Act”), 15 U.S.C. § 77z-1(a)(3), and Section 21D(a)(3) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3), as

amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”),

for an Order: (1) appointing Wyatt as Lead Plaintiff on behalf of a class consisting

of all persons and entities other than the above-captioned defendants (“Defendants”)

who invested in a BlockFi, Inc. (“BlockFi” or the “Company”) Interest Account

(“BIA”) between March 4, 2019 and November 28, 2022, both dates inclusive (the

“Class Period”) (the “Class”); and (2) approving proposed Lead Plaintiff’s selection

of Pomerantz LLP (“Pomerantz”) as Lead Counsel for the Class.1

                        PRELIMINARY STATEMENT

      The Complaint in the Action (Dkt. No. 1) alleges a significant fraud

perpetrated on investors in BIAs during the Class Period. See generally Complaint.


1
  The complaint (“Complaint”) in the above-captioned action (the “Action”), filed
in this Court on February 28, 2023, alleges a class period that only includes persons
or entities that invested in BIAs between March 4, 2019 and November 10, 2022,
both dates inclusive. See Dkt. No. 1. On March 1, 2023, the complaint in the action
styled Elas v. Prince et al, No. 1:23-cv-10472 (the “Elas” Action) was filed in the
United States District Court for the District of Massachusetts alleging substantially
the same wrongdoing as the Action against overlapping defendants, and with a larger
class period including all persons that invested in BIAs between March 4, 2019 and
November 28, 2022, inclusive. See Elas Action, Dkt. No. 1. Therefore, to avoid
excluding any potential class members, this motion has adopted the larger class
period alleged in the Elas Action.
                                      1
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 5 of 16 PageID: 151




The ability of investors in BIAs to recover their losses arising from the alleged fraud

rests upon the Court’s appointment of the most qualified Lead Plaintiff and Lead

Counsel pursuant to the procedure set forth in the PSLRA. Wyatt is the best choice

to serve as Lead Plaintiff. His chosen counsel, Pomerantz, will devote the resources

and expertise necessary to zealously prosecute this litigation, and is thus the best

candidate to serve as Lead Counsel.

      During the Class Period, Defendants allegedly defrauded investors, in

violations of the Securities and Exchange Acts, by misrepresenting BlockFi’s

business and operations. Investors in BIAs, including Wyatt, incurred significant

losses resulting from the revelation of this fraud. See id.

      Pursuant to the PSLRA, the Court is to appoint as Lead Plaintiff the movant

that possesses the largest financial interest in the outcome of the Action and that

satisfies the requirements of Federal Rule of Civil Procedure 23 (“Rule 23”). 15

U.S.C. §§ 77z-1(a)(3)(B)(iii)(I), 78u-4(a)(3)(B)(iii)(I).     Wyatt had $4,135,900

invested in BIAs during the Class Period.          See Declaration of Thomas H.

Przybylowski in Support of Motion (“Przybylowski Decl.”), Exhibit (“Ex.”) A.

Accordingly, Wyatt believes that he has the largest financial interest in the relief

sought in this Action within the meaning of the PSLRA.




                                       2
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 6 of 16 PageID: 152




      Beyond his considerable financial interest, Wyatt also meets the applicable

requirements of Rule 23 because his claims are typical of absent class members and

he will fairly and adequately represent the interests of the Class.

      To fulfill his responsibilities as Lead Plaintiff and vigorously prosecute this

Action on behalf of the Class, Wyatt has selected Pomerantz as Lead Counsel for

the Class. Pomerantz is a nationally recognized securities class action firm that has

recovered billions of dollars on behalf of defrauded investors, and recently secured

a recovery of $3 billion on behalf of investors in the securities of Petrobras, the fifth

largest class action settlement ever achieved in the U.S. Based in New York,

Pomerantz has offices in Chicago, Los Angeles, Paris, France, and London, England.

      Accordingly, based on his significant financial interest, and otherwise

satisfying the adequacy and typicality requirements of Rule 23, Wyatt respectfully

requests that the Court enter an order appointing him as Lead Plaintiff and approving

their selection of Lead Counsel.

                             STATEMENT OF FACTS

      As the Complaint alleges, this action arises out of the sale of unregistered

securities by BlockFi, a New Jersey based company founded by Defendants Zac

Prince (“Prince”) and Flori Marquez (“Marquez”), and controlled by Prince,

Marquez, Defendant Tony Laura (“Laura”) and Jennifer Hill (“Hill”).                 The

unregistered securities sold by Defendants Prince, Marquez, Laura, and Hill on



                                        3
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 7 of 16 PageID: 153




behalf of BlockFi were marketed and sold via a steady stream of misrepresentations

and material omissions by Prince and Marquez over several years and through

intermittent misrepresentations by Defendant Gemini Trading, LLC.

       The truth about Prince and Marquez’ misrepresentations about BlockFi was

revealed beginning on November 11, 2022, when California’s financial regulator

revoked BlockFi’s lending license for failure to comply with California loan

underwriting standards concerning the creditworthiness of borrowers and their

ability to repay loans. Thereafter, additional disclosures established the extent and

materiality of Prince and Marquez’ misrepresentations during the Class Period.

       On November 10, 2022, BlockFi announced it would halt customer

withdrawals and freeze account access. Thereafter Plaintiff and Class members

have had no access to their investments. BlockFi made this redemption freeze

announcement even more permanent and terrifying for customers when it filed for

bankruptcy 18 days later on November 28, 2022, leaving customers and 100,000

creditors in the lurch, with liabilities and assets ranging from $1 billion to $10

billion.

       Bankruptcy filings later revealed, inter alia, that one of causes of BlockFi’s

failure and the loss of investors’ fund was that Alameda Research, an affiliate of

the major cryptocurrency lender FTX, had defaulted on $680 million worth of loans

to BlockFi. In its bankruptcy filing, BlockFi admitted that its lockdown of investor



                                      4
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 8 of 16 PageID: 154




accounts and bankruptcy was due to its undisclosed exposure to FTX, which had

filed a bankruptcy petition on November 16, 2021.

                                    ARGUMENT

      A.     WYATT SHOULD BE APPOINTED LEAD PLAINTIFF

      Wyatt should be appointed Lead Plaintiff because, to the best of his counsel’s

knowledge, he has the largest financial interest in the Action and otherwise strongly

satisfies the requirements of Rule 23. The PSLRA directs courts to consider any

motion to serve as Lead Plaintiff filed by class members in response to a published

notice of the class action and to do so by the later of (i) 90 days after the date of

publication, or (ii) as soon as practicable after the Court decides any pending motion

to consolidate. 15 U.S.C. §§ 77z-1(a)(3)(B)(i)-(ii), 78u-4(a)(3)(B)(i)-(ii).

      Further, under 15 U.S.C. §§ 77z-1(a)(3)(B)(iii)(I) and 78u-4(a)(3)(B)(iii)(I),

the Court is directed to consider all motions by plaintiffs or purported class members

to appoint Lead Plaintiff filed in response to any such notice. Under this section, the

Court “shall” appoint “the presumptively most adequate plaintiff” to serve as Lead

Plaintiff and shall presume that plaintiff is the person or group of persons, that:

             (aa) has either filed the complaint or made a motion in
             response to a notice . . .;

             (bb) in the determination of the Court, has the largest
             financial interest in the relief sought by the class; and

             (cc) otherwise satisfies the requirements of Rule 23 of the
             Federal Rules of Civil Procedure.


                                       5
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 9 of 16 PageID: 155




15 U.S.C. §§ 77z-1(a)(3)(B)(iii)(I), 78u-4(a)(3)(B)(iii)(I).

      As set forth below, Wyatt satisfies all three of these criteria and thus is entitled

to the presumption that he is the most adequate plaintiff of the Class and, therefore,

should be appointed Lead Plaintiff for the Class.

             1.     Wyatt Are Willing to Serve as Class Representatives

      On February 28, 2023, counsel for the plaintiff in the Action caused a notice

to be published over Newsfile Corp. pursuant to Sections 27(a)(3)(A)(i) and

21D(a)(3)(A)(i) of the PSLRA (the “Notice”), which announced that a securities

class action had been filed against the Defendants and advised investors in BIAs that

they had until May 1, 2023—i.e., 60 days from the date of the Notice’s publication—

to file a motion to be appointed as Lead Plaintiff. See Przybylowski Decl., Ex. B.

      Wyatt has filed the instant motion pursuant to the Notice and has attached a

signed Certification attesting that he is willing to serve as a representative for the

Class and to provide testimony at deposition and trial, if necessary.                 See

Przybylowski Decl., Ex. C. Accordingly, Wyatt satisfies the first requirement to

serve as Lead Plaintiff of the Class.

             2.     Wyatt Has the “Largest Financial Interest”

      The PSLRA requires a court to adopt a rebuttable presumption that “the most

adequate plaintiff . . . is the person or group of persons that . . . has the largest

financial interest in the relief sought by the class.” 15 U.S.C. §§ 77z-1(a)(3)(B)(iii),



                                        6
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 10 of 16 PageID: 156




 78u-4(a)(3)(B)(iii). Here, Wyatt had $4,135,900 invested in BIAs during the Class

 Period. See Przybylowski Decl., Ex. A. Because Wyatt possesses the largest

 financial interest in the outcome of this litigation, he may be presumed to be the

 “most adequate” plaintiff.        15 U.S.C. §§ 77z-1(a)(3)(B)(iii)(I)(bb), 78u-

 4(a)(3)(B)(iii)(I)(bb).

              3.     Wyatt Otherwise Satisfies the Requirements of Rule 23 of
                     the Federal Rules of Civil Procedure

        Sections 27(a)(3)(B)(iii)(I)(cc) and 21D(a)(3)(B)(iii)(I)(cc) of the PSLRA

 further provide that, in addition to possessing the largest financial interest in the

 outcome of the litigation, Lead Plaintiff must “otherwise satisfy the requirements of

 Rule 23 of the Federal Rules of Civil Procedure.” Rule 23(a) generally provides that

 a class action may proceed if the following four requirements are satisfied:

       (1) the class is so numerous that joinder of all members is impracticable,
       (2) there are questions of law or fact common to the class, (3) the claims
       or defenses of the representative parties are typical of the claims or
       defenses of the class, and (4) the representative parties will fairly and
       adequately protect the interests of the class.

       In determining that Lead Plaintiff satisfies the requirements of Rule 23, “[a]

 wide-ranging analysis under Rule 23 is not appropriate [at this stage of the litigation]

 and should be left for consideration of a motion for class certification.” In re Lucent

 Techs. Sec. Litig., 194 F.R.D. 137, 149 (D.N.J. 2000) (quoting Fischler v. Amsouth

 Bancorp., No. 96-1567-CIV-T-17A, 1997 U.S. Dist. LEXIS 2875, at *7-*8 (M.D.

 Fla. Feb. 6, 1997)); see also Sklar v. Amarin Corp. PLC, Nos. 13-cv-06663 (FLW)


                                        7
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 11 of 16 PageID: 157




 (TJB), 2014 U.S. Dist. LEXIS 103051, at *20 (D.N.J. July 29, 2014) (“only a

 preliminary showing of both typicality and adequacy is necessary”). Moreover,

 “[t]he Rule 23 inquiry focuses [only] on the ‘typicality’ and ‘adequacy’ requirements

 at this stage of the litigation.” Id.

        The typicality requirement of Rule 23(a)(3) is satisfied where “the named

 plaintiffs’ claims are typical, in common-sense terms, of the class, thus suggesting

 that the incentives of the plaintiffs are aligned with those of the class.” Beck v.

 Maximus, Inc., 457 F.3d 291, 295-96 (3d Cir. 2006) (quoting Baby Neal v. Casey,

 43 F.3d 48, 55 (3d Cir. 1994) (noting that “factual differences will not render a claim

 atypical if the claim arises from the same event or practice or course of conduct that

 gives rise to the claims of the class members, and if it is based on the same legal

 theory”)).

        Wyatt’s claims are typical of those of the Class. Wyatt alleges, as do all Class

 members, that Defendants violated the Securities Act and the Exchange Act by

 making what they knew or should have known were false or misleading statements

 of material facts concerning BlockFi, or omitted to state material facts necessary to

 make the statements they did make not misleading. Wyatt, as do all Class members,

 alleges damages based on Class Period investments in BIAs. These shared claims,

 which are based on the same legal theory and arise from the same events and course

 of conduct as the Class claims, satisfy the typicality requirement of Rule 23(a)(3).



                                         8
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 12 of 16 PageID: 158




       “In making the prima facie determination of adequacy, a court should

 consider whether the movant ‘has the ability and incentive to represent the claims of

 the class vigorously, [whether the movant] has obtained adequate counsel, and

 [whether] there is [a] conflict between [the movant’s] claims and those asserted on

 behalf of the class.’” In re Vonage Initial Pub. Offering Secs. Litig., No. 07-177

 (FLW), 2007 U.S. Dist. LEXIS 66258, at *19 (D.N.J. Sept. 6, 2007) (quoting

 Cendant, 264 F.3d at 265); see also Beck, 457 F.3d at 296 (emphasizing that the

 adequacy inquiry “‘serves to uncover conflicts of interest between named parties and

 the class they seek to represent’” (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.

 591, 625 (1997))).

       Wyatt is an adequate representative for the Class. As set forth in greater detail

 below, Wyatt has retained counsel highly experienced in vigorously and efficiently

 prosecuting securities class actions such as this action, and submits his choice of

 Pomerantz to the Court for approval pursuant to 15 U.S.C. §§ 77z-1(a)(3)(B)(v) and

 78u 4(a)(3)(B)(v). There is no evidence of antagonism or conflict between Wyatt’s

 interests and the interests of the Class. Wyatt has submitted a signed Certification

 declaring his commitment to protecting the interests of the Class (see Przybylowski

 Decl., Ex. C), and Wyatt’s significant financial interest in this litigation

 demonstrates that he has a sufficient interest in the outcome of this litigation to

 ensure vigorous adequacy.



                                        9
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 13 of 16 PageID: 159




       Further demonstrating his adequacy, Wyatt has submitted a Declaration

 attesting to, inter alia, his background, investing experience, experience working

 with counsel, understanding of the responsibilities of Lead Plaintiffs pursuant to the

 PSLRA, his decision to seek appointment as Lead Plaintiff, and the steps that he is

 prepared to take to prosecute this litigation on behalf of the Class. See Przybylowski

 Decl., Ex. D.

              4.     Wyatt Will Fairly and Adequately Represent the Interests
                     of the Class and Is Not Subject to Unique Defenses

       The presumption in favor of appointing Wyatt as Lead Plaintiff may be

 rebutted only upon proof “by a member of the purported plaintiff class” that the

 presumptively most adequate plaintiff:

              (aa) will not fairly and adequately protect the interest of
              the class; or

              (bb) is subject to unique defenses that render such
              plaintiff incapable of adequately representing the class.

 15 U.S.C. §§ 77z-1(a)(3)(B)(iii)(II), 78u-4(a)(3)(B)(iii)(II).

       The ability and desire of Wyatt to fairly and adequately represent the Class

 has been discussed above. Wyatt is not aware of any unique defenses Defendants

 could raise that would render him inadequate to represent the Class. Accordingly,

 Wyatt should be appointed Lead Plaintiff for the Class.




                                        10
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 14 of 16 PageID: 160




       B.     LEAD PLAINTIFF’S SELECTION OF COUNSEL SHOULD BE
              APPROVED

       The PSLRA vests authority in the Lead Plaintiff to select and retain Lead

 Counsel, subject to Court approval. See 15 U.S.C. §§ 77z-1(a)(3)(B)(v), 78u-

 4(a)(3)(B)(v); In re Molson Coors Brewing Co. Sec. Litig., 233 F.R.D. 147, 150 (D.

 Del. 2005) (“Once the lead plaintiff is chosen, that party is primarily responsible for

 selecting lead counsel.”). The Court should not interfere with Lead Plaintiff’s

 selection unless it is necessary to do so to “protect the interests of the class.” 15

 U.S.C. §§ 77z-1(a)(3)(B)(iii)(II)(aa), 78u-4(a)(3)(B)(iii)(II)(aa).

       Here, Wyatt has selected Pomerantz as Lead Counsel for the Class.

 Pomerantz is a premier firm, highly experienced in the areas of securities litigation

 and class action lawsuits, which has successfully prosecuted numerous such actions

 on behalf of investors over its 80-plus year history, as detailed in its firm resume.

 See Przybylowski Decl., Ex. E. Pomerantz recently secured a recovery of $3 billion

 on behalf of investors in the securities of Petróleo Brasileiro S.A. — Petrobras, the

 largest class action settlement in a decade and the largest settlement ever in a class

 action involving a foreign issuer. See id. Petrobras is part of a long line of record-

 setting recoveries led by Pomerantz, including the $225 million settlement in In re

 Comverse Technology, Inc. Securities Litigation, No. 06-CV-1825 (E.D.N.Y.), in

 June 2010, and the $90 million settlement in Klein v. Altria Group, Inc. et al, No.

 3:20-cv-00075 (E.D. Va.) in March 2022. Id.


                                        11
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 15 of 16 PageID: 161




       Wyatt’s chosen counsel have the skill, knowledge, expertise, and experience

 that will enable them to prosecute this Action effectively and expeditiously. Thus,

 the Court may be assured that by approving Wyatt’s selection of Pomerantz as Lead

 Counsel for the Class, the members of the Class will receive the best legal

 representation available.

                                  CONCLUSION

       For the foregoing reasons, Wyatt respectfully requests that the Court issue an

 Order: (1) appointing Wyatt as Lead Plaintiff for the Class; and (2) approving

 Pomerantz as Lead Counsel for the Class.

 Dated: May 1, 2023                         Respectfully submitted,

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                                      12
Case 2:23-cv-01165-KM-LDW Document 7-2 Filed 05/01/23 Page 16 of 16 PageID: 162




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                                   13
